Case 4:23-cv-04155-YGR Document 46-3 Filed 11/13/23 Page 1of1

U.S. Department of Justice

Federal Bureau of Prisons

SS ee
Cerrzie

Federal Correctional Institution

Dublin, CA 94568
February 15, 2023

MEMORANDUM FOR LIEUTENANTS AND CONTROL CENTER STAFF

FROM: oY Deveney, AsSociate Warden

PREA Compliance Manager

SUBJECT: Notification Procedures: PREA Allegations
Outside Hospital

Please ensure the following procedure is followed in the event it is
determined an individual in our custody is to be transported to the

outside hospital for sexual assault evidence gathering, evaluation,

and treatment (i.e., “rape kit”).

1. Ensure contact was made with the PREA Compliance Manager (Associate

Warden Programs) and authorization was given for the hospital trip.
2. The individual is to be transported to:
Highland Hospital
1411 E. 315 Street
Oakland, CA 94602

3. Notify the hospital via phone prior to departure advising we are en

route with an individual in our custody who will require a SART

exam (i.e., “rape kit”). Provide any relevant medical information,

so they are able to prepare for our arrival. Contact them at:
(510) 437-4559 (press 7)

4. Ensure someone asks the individual in our custody if they would
like an advocate to accompany them to the hospital. If they would
like:

An advocate from FCI Dublin: contact the Chief Psychologist
Outside advocate: contact Tri-Valley Haven (925) 449-5842

When calling Tri-Valley to request an advocate, you need to
ensure you asked for a badged FCI Dublin volunteer (in case the

individual requests follow-up sessions; the advocate will be able

to enter our institution)

5. Document on the hospital trip paperwork if the individual has
requested advocacy services (FCI Dublin staff OR Tri-Valley Haven),
or if they have declined advocacy services.

6. Notify SIS and/or ERT. They must also accompany the individual on
the trip to ensure appropriate chain of custody for evidence is
followed (e.g., clothing).

7. Obtain a change of clothing from laundry to also take on the
hospital trip. This is to ensure the individual has appropriate
attire to return to the institution.

8. Notify the IDO, so they can make the appropriate notifications.
